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                                                                                                      E-FILED
                                                                    Tuesday, 01 November, 2022 11:11:49 AM
                                                                                Clerk, U.S. District Court, ILCD
                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS
                                      PEORIA DIVISION

 PATRICE DANIELS, et al.,                        )
                                                 )
 Plaintiffs,                                     )
                                                 )    No. 1:07-CV-1298-MMM-JEH
 v.                                              )
                                                 )    Judge Michael M. Mihm
 DIRECTOR ROB JEFFREYS, et al.,                  )
                                                 )
 Defendants.                                     )

                JOINT MOTION FOR AGREED CONFIDENTIALITY ORDER

          The parties have conferred and agreed to the terms of the attached Agreed Confidentiality

 Order. The parties therefore request that this Court enter the attached Order.

Dated: November 1, 2022

                                                      /s/ Samantha Reed
                                                      One of the attorneys for Plaintiffs

                                                      /s/ Laura K. Bautista (with consent)
                                                      One of the attorneys for Defendants


Attorneys for Plaintiffs

 Harold C. Hirshman                                      Alan Mills
 Samantha Reed                                           Nicole Schult
 DENTONS US LLP                                          Uptown People’s Law Center
 233 S. Wacker Drive, Suite 5900                         4413 N Sheridan
 Chicago, IL 60606                                       Chicago, IL 60640
 Telephone: (312) 876-8000                               (773) 769-1410 (phone)
 Facsimile: (312) 876-7934                               alan@uplcchicago.org
 harold.hirshman@dentons.com                             nicole@uplcchicago.org
 samantha@equipforequality.org

 Amanda Antholt
 Equip for Equality
 200 N. Michigan Ave.
 Chicago, IL 60602, Suite 300
 (312) 341-0022 (phone)
 (312) 541-7544 (fax)
 amanda@equipforequality.org
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Attorneys for Defendants

 Laura K. Bautista                         R. Douglas Rees
 Assistant Chief Deputy Attorney General   Deputy Attorney General, Civil Litigation
 Office of the Illinois Attorney General   Office of the Illinois Attorney General
 500 South Second Street                   100 West Randolph Street, 12th Floor
 Springfield, Illinois 62701               Chicago, Illinois 60601
 Tel. 217-782-5819                         Tel. 312-814-3000
 Laura.bautista@ilag.gov                   richard.rees@ilag.gov




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                               CERTIFICATE OF SERVICE

        It is hereby certified that on November 1, 2022, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system which will send notification of
such filing to counsel for all parties.

                                                            /s/ Samantha R. Reed




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